     Case 2:07-cr-01048-VBF Document 70 Filed 06/24/08 Page 1 of 3 Page ID #:145



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     UNITED STATES OF AMERICA
11
12                         UNITED STATES DISTRICT COURT
13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
     UNITED STATES OF AMERICA,          ) No. CR 07-1048-VBF
15                                      )
                       Plaintiff,       )
16                                      )
                      v.                ) ORDER
17                                      )
     JAMES LANZO TURNER, IV,            )
18      et al.,                         )
                                        )
19                     Defendants.      )
                                        )
20
21           This Court having considered the stipulation of the parties

22   hereby GRANTS the parties' request for a continuance of the trial

23   date.    Defendants James Lanzo Turner, IV, David Cole, Jr., and

24   Lashawn Andrea Lynch have indicated the knowing, voluntary, and

25   intelligent waiver of their rights to a speedy trial through

26   September 30, 2008.     The parties also have articulated their

27   desire to continue to engage in plea discussions.

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     Case 2:07-cr-01048-VBF Document 70 Filed 06/24/08 Page 2 of 3 Page ID #:146



 1        THIS COURT FINDS, pursuant to Title 18, United States Code,
 2   Section 3161(h)(8)(B)(i) that failure to grant such a continuance
 3   in the proceeding would be likely to make a continuation of such
 4   proceeding impossible, or result in a miscarriage of justice.
 5        THIS COURT FINDS, pursuant to Title 18, United States Code,
 6   Section 3161(h)(8)(B)(iv), that failure to grant the continuance
 7   in this case, which, taken as a whole, is not so unusual or so
 8   complex as to fall within clause (ii), would deny counsel for the
 9   defendants the reasonable time necessary for effective
10   preparation, due to counsels’ need for more time to review the
11   evidence and consider possible defenses, taking into account the
12   exercise of due diligence.
13        THIS COURT FINDS, pursuant to Title 18, United States Code,
14   Section 3161(h)(7), that this is a reasonable period of delay in
15   that no previous motion for continuance has been granted, and all
16   defendants have requested more time to prepare for trial, and
17   defendants have either filed or will file waivers of speedy trial
18   in support of this motion.
19        THIS COURT FINDS, therefore, that pursuant to Title 18,
20   United States Code, Section 3161(h)(8)(A), the ends of justice
21   will best be served by a continuance, and that they outweigh the
22   best interests of the public and the defendants in a speedy
23   trial.
24        The parties' motion for continuance is GRANTED.          Trial is
25   reset for September 16, 2008.      The time from the filing of the
26   stipulated motion through the new trial date shall be excludable
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                                         2
     Case 2:07-cr-01048-VBF Document 70 Filed 06/24/08 Page 3 of 3 Page ID #:147



 1   under the Speedy Trial Act, Title 18, United States Code, Section
 2   3161(h)(8)(A).
 3
 4        Dated this    24th   day of June, 2008.
 5
 6
 7                                     __________________________________
                                       HONORABLE VALERIE BAKER FAIRBANK
 8                                     UNITED STATES DISTRICT JUDGE
 9   Presented by:
10
     /s John J. Lulejian
11   JOHN J. LULEJIAN
     Assistant United States Attorney
12   SHAWN J. NELSON
     Special Assistant United States Attorney
13   Violent and Organized Crime Section
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